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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO 1:19-CV-20580-KMW



   BRIAN GALLANT,
   individually and on behalf of all others
   similarly situated,                               CLASS ACTION

   Plaintiff,                                        JURY TRIAL DEMANDED

   v.

   TRACFONE WIRELESS, INC. D/B/A
   SAFELINK WIRELESS a Florida
   corporation,

   Defendant,

   _____________________/


                                    NOTICE OF SETTLEMENT

          Plaintiff, Brian Gallant, by and through undersigned counsel, herby gives notice that the

  parties have reached a settlement with respect to Plaintiff’s individual claims. Plaintiff and

  Defendant are in the process of finalizing their settlement agreement. Plaintiff anticipates filing a

  notice of dismissal within ten (10) days.
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        Date: April 1, 2019

        Respectfully Submitted,


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  Telephone: 305.479.2299

  Counsel for Plaintiff and the Class
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                                     CERTIFICATE OF SERVICE

          I hereby certify that on April 1, 2019, I electronically filed the foregoing document with
  the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served
  this day on all counsel identified below via transmission of Notices of Electronic Filing generated
  by CM/ECF or in some other authorized manner.

  Respectfully submitted,
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                                        By:     /S/Andrew J. Shamis____
                                                ANDREW J. SHAMIS, ESQ
                                                Florida Bar # 101754

                                               Attorneys for Plaintiff BRIAN GALLANT and all
                                               others similarly situated.
